                            In the
         United States Court of Appeals
                 For the Eleventh Circuit

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                         No. 23-12155
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AUGUST DEKKER,
a.k.a. Kori Dekker,
BRIT ROTHSTEIN,
SUSAN DOE,
A Minor by Her Parents and Next Friends,
JANE DOE,
On Behalf of Susan Doe,
JOHN DOE,
A Parent on Behalf of Susan Doe, et al.,
                                               Plaintiﬀs-Appellees,
versus
FLORIDA AGENCY FOR HEALTH CARE
ADMINISTRATION,
SECRETARY, FLORIDA AGENCY FOR HEALTH CARE
ADMINISTRATION,
                                           Defendants- Appellants,
2                       Order of the Court                  23-12155
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           Appeal from the United States District Court
               for the Northern District of Florida
            D.C. Docket No. 4:22-cv-00325-RH-MAF
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ORDER:
       The parties in this case are DIRECTED to ﬁle supplemental
briefs addressing the following two questions:
           1. What impact, if any, does Medina v. Planned
    Parenthood South Atlantic, No. 23-1275, 2025 WL 1758505
    (Jun. 26, 2025), have on whether the provisions of the Med-
    icaid Act at issue in this case confer individual rights en-
    forceable under 42 U.S.C. § 1983?
           2. What impact, if any, does United States v. Skrmetti,
    145 S. Ct. 1816 (2025), have on the Equal Protection Clause
    analysis in this case?
      The briefs should be no longer than 10 single-spaced pages
and should be filed on or before Friday, July 11, 2025.

                                                  DAVID J. SMITH
                                 Clerk of the United States Court of
                                   Appeals for the Eleventh Circuit

                ENTERED FOR THE COURT - BY DIRECTION
